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13
14
15                        UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
     LEONNA BROWN, KATHERINE             Case No.: 8:23-cv-2109
18   BURNETT, CHRIS GOLDEN, IRENE
     HARDIN, FIZA JAVID, JOJO           CLASS ACTION COMPLAINT:
19
     JENKINS, KRYSTYNA MACHUTA,            1. Violations Of California Unfair
20   NICHOLAS MAHON, SAIRA                     Competition Law, Cal. Bus. &
21   MUELLER, and SHARVIA                      Prof. Code §§ 17200, et seq.
     SULTANA, on behalf of themselves      2. Violations Of California False
22   and all others similarly situated,        Advertising Law, Cal. Bus. &
23                                             Prof. Code § 17500 (“FAL”)
                          Plaintiffs,      3. Breach of Contract
24
25   v.                                          JURY TRIAL DEMANDED

26   FITNESS INTERNATIONAL, LLC,
27   d/b/a LA FITNESS, ESPORTA

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                                    CLASS ACTION COMPLAINT
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 1   FITNESS, and CITY SPORTS CLUB,
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                           Defendant.
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                              CLASS ACTION COMPLAINT
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           1.      Plaintiffs Leonna Brown, Katherine Burnett, Chris Golden, Irene
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     Hardin, Fiza Javid, JoJo Jenkins, Krystyna Machuta, Nicholas Mahon, Saira
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     Mueller, and Sharvia Sultana (“Plaintiff(s)”), individually and on behalf of all others
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     similarly situated, bring this action against Defendant Fitness International, LLC,
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     d/b/a LA Fitness, Esporta Fitness, and City Sports Club (hereinafter “LA Fitness” or
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     “Defendant”) to obtain damages, restitution, and injunctive relief from Defendant.
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     Plaintiffs make the following allegations upon information and belief, except as to
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     their own actions, the investigation of their counsel, and facts that are a matter of
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     public record.
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                                NATURE OF THE ACTION
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           2.     This is a class action on behalf of individuals who have acquired
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     membership in a gym operated under the names of “LA FITNESS,” “Esporta
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     Fitness,” or “City Sports Club,” all owned, managed and controlled by LA Fitness,
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     to recover damages and other relief arising from Defendant’s violations of California
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     Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”);
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     California False Advertising Law, Cal. Bus. & Prof. Code § 17500 (“FAL”), and
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     breach of contract.
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                                    CLASS ACTION COMPLAINT
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 1          3.     Defendant has violated California state laws and breached the terms of
 2   its contract by engaging in deceptive and predatory cancellation policies to
 3   continuously gain a profit from consumers who no longer wish to utilize gym
 4   membership services. Defendant violated membership agreements by failing to
 5   abide by cancellation policies in their contracts. Defendant deceived new members
 6   by promoting “no hassle” cancellations in order to get them to sign up for gym
 7   memberships but failed to disclose the true nature of its cancellation policies. As a
 8   result, consumers were continuously charged membership fees after making good
 9   faith efforts to cancel their policies.
10                                             PARTIES
11          4.     Plaintiff Leonna Brown (“Plaintiff Brown”) is and at all times
12   mentioned herein was an individual citizen of the Commonwealth of Pennsylvania.
13   Plaintiff Brown was a member of LA Fitness from February 24, 2023, until the
14   present. Plaintiff Brown has attempted to cancel her membership by phone and in-
15   person on numerous occasions.
16          5.     Plaintiff Katherine Burnett (“Plaintiff Burnett”) is and at all times
17   mentioned herein was an individual citizen of the State of Arkansas. Plaintiff Burnett
18   was a member with LA Fitness from 2018 until she attempted to cancel her
19   membership on April 19, 2019. Plaintiff Burnett incurred deductions from her bank
20   account for membership fees every month until January of 2021.
21          6.     Plaintiff Chris Golden (“Plaintiff Golden”) is and at all times
22   mentioned herein was an individual citizen of the State of California. Plaintiff
23   Golden was a member of LA Fitness from early 2023 until late 2023 when Plaintiff
24   Golden attempted to cancel his membership and was told it was canceled.
25   Nevertheless, LA Fitness continued to withdraw membership fees from his bank.
26          7.     Plaintiff Irene Hardin (“Plaintiff Hardin”) is and at all times
27   mentioned herein was an individual citizen of the State of Georgia. Plaintiff Hardin
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                                      CLASS ACTION COMPLAINT
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 1   was a member of LA Fitness from 2013 and attempted to cancel her LA Fitness
 2   membership but continued being charged. Plaintiff Hardin closed her bank account
 3   to stop LA Fitness from deducting funds from her bank account.
 4         8.     Plaintiff Fiza Javid (“Plaintiff Javid”) is and at all times mentioned
 5   herein was an individual citizen of the State of Illinois. Plaintiff Javid was a member
 6   of LA Fitness from early 2022 until November 9, 2022. However, Ms. Javid was
 7   still being charged. Finally, on January 4, 2023, Plaintiff Javid changed her credit
 8   card number to stop the deductions by LA Fitness.
 9         9.     Plaintiff Jojo Jenkins (“Plaintiff Jenkins”) is and at all times
10   mentioned herein was an individual citizen of the State of Florida. Plaintiff Jenkins
11   was a member of LA Fitness from April of 2022 until July 13, 2022, but continued
12   to be charged membership fees. Finally, Plaintiff Jenkins called her bank and
13   stopped all payments to LA Fitness.
14         10.    Plaintiff Krystyna Machuta (“Plaintiff Machuta”) is and at all times
15   mentioned herein was an individual citizen of the State of Michigan. Plaintiff
16   Machuta joined LA Fitness at the beginning of January 2023, but she decided and
17   attempted to cancel her membership. However, from January of 2023 until March 8,
18   2023, LA Fitness continued to charge Plaintiff Machuta despite her efforts to cancel
19   the membership in January 2023.
20         11.    Plaintiff Saira Mueller (“Plaintiff Mueller”) is and at all times
21   mentioned herein was an individual citizen of the State of New York. Plaintiff
22   Mueller was a member of LA Fitness from 2019 until she tried to cancel in 2020 but
23   LA Fitness continued to bill her. Ultimately, Plaintiff Mueller contacted her bank to
24   stop all payments from her account to LA Fitness.
25         12.    Plaintiff Sharvia Sultana (“Plaintiff Sultana”) is and at all times
26   mentioned herein was an individual citizen of the State of New York. Plaintiff
27   Sultana was a member of LA Fitness beginning in 2021. In April 2022, Plaintiff
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                                    CLASS ACTION COMPLAINT
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 1   Sultana attempted to cancel her membership but was billed each month until January
 2   10, 2023, when she replaced her debit/credit card to stop LA Fitness deductions.
 3         13.    Plaintiff Nicholas Mahon (“Plaintiff Mahon”) is and at all times
 4   mentioned herein was an individual citizen of the State of Texas. Plaintiff Mahon
 5   was a member of LA Fitness from June 6, 2018, until he began trying to cancel his
 6   membership in early July 2019. His cancellation was finally processed by LA Fitness
 7   in August of 2019.
 8         14.    Defendant Fitness International, LLC has its principal place of
 9   business located at 3161 Michelson Dr., Ste 600, Irvine, California 92612. It can be
10   served through its registered agent C T Corporation System at 28 Liberty Street New
11   York, New York 10005. Defendant Fitness International, LLC does business as LA
12   Fitness, Esporta Fitness, and City Sports Club (hereinafter “LA Fitness” or
13   “Defendant”).
14                            JURISDICTION AND VENUE
15         15.    This Court has subject matter jurisdiction over this action under 28
16   U.S.C. § 1332(d) because this is a class action wherein the amount in controversy
17   exceeds the sum or value of $5,000,000, exclusive of interest and costs, there are
18   more than 100 members in the proposed class, and at least one member of the class
19   is a citizen of a state different from Defendant, including all plaintiffs other than
20   Plaintiff Golden.
21         16.    The Court has general personal jurisdiction over Defendant because,
22   personally or through its agents, Defendant operates, conducts, engages in, or carries
23   on a business or business venture in Irvine, California; it is registered with the
24   Secretary of State in California as a limited liability corporation; it maintains its
25   headquarters in California; and committed tortious acts in California.
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                                    CLASS ACTION COMPLAINT
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 1         17.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
 2   it is the district within which LA Fitness has the most significant contacts and LA
 3   Fitness’s principal place of business is located in this District.
 4                                   APPLICABLE LAW
 5         18.    Defendant is a citizen of California. Defendant Fitness International,
 6   LLC does business as LA Fitness, Esporta Fitness, and City Sports Club.
 7         19.    Upon information and belief, the contracts at issue in this matter were
 8   drafted, developed, and finalized in California.
 9         20.    Upon information and belief, some (if not all) of the contracts at issue
10   in this matter include a “governing law” provision which indicates that the contracts
11   “shall be governed and enforced in accordance with California law.”
12         21.    Upon information and belief, the contracts at issue in this matter must
13   be cancelled in California when a Plaintiff and/or Class member mails in a
14   cancellation form, which are sent to an address in Irvine, California.
15         22.    As for the non-contract claims, Plaintiffs maintain that LA Fitness is a
16   California corporation, established in California, and from California, it enforces a
17   company-wide policy and/or procedure to prevent Plaintiffs and Class members
18   from cancelling their memberships.
19         23.    Upon information and belief, all contracts, online forms, and
20   nationwide advertising decisions, and all company-wide employee and management
21   training and policy decisions emanate from LA Fitness’s headquarters located in the
22   State of California.
23         24.    Accordingly, Plaintiffs and Class members maintain that California law
24   is the governing law for all causes of action.
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                                     CLASS ACTION COMPLAINT
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 1                        COMMON FACTUAL ALLEGATIONS
 2   Defendant’s Business
 3           25.   Defendant LA Fitness International, LLC, commonly known by the
 4   name “LA Fitness,” is a North American gym chain. LA Fitness International, LLC
 5   also owns and operates Esporta Fitness and City Sports Clubs.
 6           26.   LA Fitness was founded in Southern California in 1984 and has
 7   expanded its locations across North America.1 These locations include: Canada,
 8   Oregon, California, Arizona, Texas, Minnesota, Arkansas, Louisiana, Illinois,
 9   Indiana, Tennessee, Ohio, New York, Kentucky, Maryland, Pennsylvania, New
10   Jersey, Massachusetts, Connecticut, Rhode Island, District of Columbia, Michigan,
11   North Carolina, Georgia, and Florida.2
12           27.   LA Fitness, Esporta Fitness, and City Sports Club offer a variety of
13   memberships based on how much a gym member is willing to pay.
14           28.   Individuals are able to join LA Fitness while at a gym by signing a
15   membership contract in person or are able to join online after selecting a membership
16   plan. Members must rely upon information given to them in person by LA Fitness
17   personnel or, alternatively, must rely on information provided on the publicly
18   accessible pages of the website before signing up online.
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27       https://www.lafitness.com/Pages/about.aspx
     2
         https://www.lafitness.com/Pages/findClub.aspx
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                                    CLASS ACTION COMPLAINT
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 1         29.    Upon information and belief, LA Fitness personnel fail to provide a
 2   physical copy of the agreement to review the terms of the contract before members,
 3   including Plaintiffs, sign up for a membership. Similarly, if a member chooses to
 4   sign up for a membership online, they are unable to see the full terms of the contract
 5   before signing. See online form below:
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                                   CLASS ACTION COMPLAINT
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 1         30.    The contract provides that membership may be cancelled by sending
 2   notification to LA Fitness’s corporate office in Irvine, California.
 3         31.    Despite this provision, LA Fitness personnel routinely tell Plaintiffs and
 4   Class members that if they choose to cancel their membership, they are able to cancel
 5   at any time without any hassle. Specifically, prospective gym members who inquired
 6   about cancellation were informed by LA Fitness personnel that the only requirement
 7   to cancel the membership was to verbally notify the gym, and they would be able to
 8   get out of the LA Fitness membership contract at any time.
 9         32.    Nonetheless, the fine print of LA Fitness’s membership contract
10   requires members to mail a notice letter to the corporate office in Irvine, California,
11   in order to cancel a membership. All the Plaintiffs were unaware of this written
12   notice requirement to end their membership despite discussions and representations
13   from LA Fitness gym employees at the time of entering into the membership
14   agreement, and even after notifying LA Fitness gym employees when they were
15   actively trying to cancel memberships. See contract provision below:
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           33.    Specifically, after Plaintiffs and Class members notified LA Fitness
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     personnel that they intended to cancel their memberships, LA Fitness repeatedly
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     instructed Plaintiffs and Class members to come into the gym during certain business
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     hours while a manager was present to cancel their membership. Yet following these
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     instructions from LA Fitness personnel, Plaintiffs and Class members were still
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     unable to cancel their memberships.
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                                    CLASS ACTION COMPLAINT
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 1             34.   Additionally, some members like Plaintiff Sultana were informed they
 2    could cancel their membership through the online platform, which turned out to be
 3    false.
 4             35.   Plaintiffs and class members, like Plaintiff Javid, who tried to cancel
 5    by mailing a notice letter to the company fared no better. LA Fitness routinely
 6    delayed cancellation of memberships even when notified by mail.
 7             36.   Ultimately, many Plaintiffs and Class members had no other option but
 8    to cancel their debit and credit cards or bank accounts linked to the LA Fitness
 9    accounts in order stop incurring membership fee charges from LA Fitness.
10             37.   LA Fitness’s difficult and inconsistent requirements to cancel a
11    membership agreement are contrary to the terms of the membership agreement,
12    including, but not limited to: requiring cancellation in-person, requiring cancellation
13    at certain times of the day, and requiring cancellation in the presence of a manager.
14             38.   Members, including certain Plaintiffs, have reported that even after
15    successfully going through the cancellation obstacles, and being told their
16    membership is cancelled, they were still billed for months.
17             39.   When LA Fitness employees sign members up in-person for gym
18    services, they fail to provide a physical copy for members to review prior to
19    enrollment. In addition, LA Fitness employees regularly inform members to
20    disregard policies stated on the membership agreement. LA Fitness employees
21    quickly get e-signatures proving little to no time for the enrolling member to review
22    the electronic version of the agreement. In fact, LA Fitness personnel tell new
23    members that “they can cancel at any time with no other obligations,” in effect,
24    coercing members into being locked into an agreement that they are unable to cancel
25    without a fight.3
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27     See https://www.bbb.org/us/ca/irvine/profile/health-club/la-fitness-1126-
      41156/complaints
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                                      CLASS ACTION COMPLAINT
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 1          40.      LA Fitness and its sister entities provide willfully false or misleading
 2    information to consumers to get people to sign up for memberships and to falsely
 3    assuage all concerns about cancellation issues. When consumers decide to cancel a
 4    membership, regardless of the reason, they are blindsided by the predatory nature of
 5    cancellation tasks. LA Fitness has concocted a wide range of difficult hurdles for
 6    members to complete for cancellation, effectively trapping members in costly and
 7    unwanted memberships.
 8          41.      Therefore, Plaintiffs and other members who have tried to cancel an LA
 9    Fitness membership have suffered monetary losses, time spent trying to resolve the
10    matter, and anxiety.
11
12                                  PLAINTIFFS’ EXPERIENCES
13          Plaintiff Leonna Brown
14          42.      Pennsylvania Plaintiff Leonna Brown has been a member of the LA
15    Fitness in Glenside, Pennsylvania beginning on February 24, 2021, until the present.
16          43.      Since joining LA Fitness, Ms. Brown has paid approximately $100 per
17    month on her membership.
18          44.      At the time that Ms. Brown entered the membership agreement, and
19    based upon information as explained to her by LA Fitness personnel, Ms. Brown
20    understood that she would be able to cancel her membership at any time without any
21    limitations.
22          45.      However, over the course of the last several months, Ms. Brown has
23    attempted to cancel her membership on multiple occasions over the phone and in-
24    person and was explained by LA Fitness personal that she had to come to the gym
25    during certain business hours with a manager present to cancel her membership.
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                                      CLASS ACTION COMPLAINT
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 1          46.    To date, Ms. Brown still continues to have her membership fees
 2    deducted from her bank account although she has tried to cancel her membership
 3    several times to no avail.
 4          Plaintiff Katherine Burnett
 5          47.    Arkansas Plaintiff Katherine Burnett became an LA Fitness member in
 6    or around the year 2018 at the Little Rock, Arkansas location.
 7          48.    Since the inception of her membership, Ms. Burnett had been paying
 8    around $50.00 per month for her monthly membership fees. The monthly price she
 9    was paying increased by approximately $10.00-15.00 per month during her time as
10    a member.
11          49.    In addition to her monthly membership fees, she was charged a yearly
12    fee that was over $100.00 per year. Upon information and belief, LA Fitness failed
13    to inform her about a recurring annual membership fee. The hidden yearly fees came
14    as a shock to Plaintiff Burnett because LA Fitness employees represented that there
15    were no additional fees to what was described to her as a “no-contract” monthly
16    membership.
17          50.    Upon entering her membership agreement, based upon information
18    explained to her by LA Fitness personnel, Ms. Burnett was told that she would be
19    able to cancel her membership at any time without any limitations and that it would
20    be a simple process.
21          51.    LA Fitness personnel explained her “no-contract” membership meant
22    that she could start a membership and end it with ease at any time without any
23    additional requirements for cancelation.
24          52.    On or about April 19, 2019, Ms. Burnett attempted to cancel her LA
25    Fitness membership over the phone and was told by LA Fitness personnel that she
26    was required to come into the gym during certain business hours with a manager
27    present to cancel her membership.
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                                    CLASS ACTION COMPLAINT
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 1          53.    After going to the gym during certain business hours when a manager
 2    present, Ms. Burnett was instructed that her membership was cancelled. However,
 3    Ms. Burnett continued to be charged for her gym membership.
 4          54.    Plaintiff Burnett was charged a large yearly membership fee after
 5    canceling. In response, Ms. Burnett called her bank, made a complaint with the
 6    Better Business Bureau, attempted to contact LA Fitness about the reoccurring
 7    charges, and eventually had to get a new bank card so LA Fitness could not access
 8    her financial accounts.
 9          55.    On or around January 13, 2021, Plaintiff Burnett stopped being charged
10    for the LA Fitness membership that she attempted to cancel over a year and a half
11    before.
12          56.    Upon information and belief, Plaintiff Burnett was not provided a copy
13    of her membership contract and the other cancelation policies forced upon her were
14    not provided in the small print within the contract.
15          Plaintiff Chris Golden
16          57.    California Plaintiff Chris Golden obtained an LA Fitness membership
17    on two separate occasions, once in 2014 and again in 2023 at the Irvine, California
18    location.
19          58.    Since the inception of both of his memberships, Mr. Golden was paying
20    around $50.00 per month for his membership.
21          59.    Upon entering his membership agreement both times, Mr. Golden was
22    under the impression based upon information explained to him by LA Fitness
23    personnel, that he would be able to cancel his membership with ease at any time
24    without any limitations and that he would just need to notify the gym.
25          60.    On or around April 5, 2017, Mr. Golden attempted to cancel his first
26    LA Fitness membership over the phone and was told by LA Fitness personnel
27    initially that it was canceled. Despite this, LA Fitness continued to withdraw
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                                     CLASS ACTION COMPLAINT
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 1    membership fees, and Mr. Golden subsequently followed up with a call. LA Fitness
 2    personnel then said he was required to come into the gym in order to cancel his
 3    membership during certain business hours with a manager present. Mr. Golden tried
 4    to come into the gym on several occasions, but a manager was not available during
 5    his repeated attempts at in-person cancellation.
 6          61.    In addition to making several trips to the gym to attempt to cancel his
 7    membership, Mr. Golden also made many calls and sent emails to get assistance with
 8    canceling his membership. He never received any feedback or response.
 9          62.    Around September 13, 2017, Mr. Golden believes the deductions
10    finally stopped.
11          63.    Again in 2023, after Mr. Golden joined LA Fitness a second time, Mr.
12    Golden experienced a nearly identical situation when attempting to cancel despite
13    being promised by LA Fitness personnel that it would be easy to cancel the
14    membership with no penalties and that it would be a quick cancellation process.
15          64.    After attempting to cancel his 2023 membership, Mr. Golden was
16    required to follow the same rules as before in 2017 and get a manager’s permission
17    to cancel.
18          65.    Plaintiff Golden has reported these actions by LA Fitness to agencies
19    like the BBB as an attempt to prevent this behavior from continuing.
20          66.    Upon information and belief, Plaintiff Golden was not provided a copy
21    of his membership contract and the other cancelation policies forced upon him were
22    not provided in the small print within the contract.
23          Plaintiff Irene Hardin
24          67.    Georgia Plaintiff Irene Hardin became an LA Fitness member in or
25    around the year 2013 at the Sandy Springs, Georgia location.
26          68.    Since the inception of her membership, Ms. Hardin has been paying
27    around $35.00 to $40.00 per month for her membership.
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                                     CLASS ACTION COMPLAINT
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 1          69.    Upon entering her membership agreement, based upon information
 2    explained to her by LA Fitness personnel, Ms. Hardin was under the impression that
 3    she would be able to cancel her membership at any time without any limitations and
 4    that it would be a simple process. Ms. Hardin was informed that she should not have
 5    any worries about cancelation.
 6          70.    Sometime after opening a membership, Ms. Hardin attempted to cancel
 7    her LA Fitness membership over the phone and was told by LA Fitness personnel
 8    that she was required to come into the gym in order to cancel her membership during
 9    certain business hours with a manager present.
10          71.    Ms. Hardin was shocked at these requirements as she was not informed
11    about them when she signed up for a gym membership. Moreover, she was not given
12    a contract to review when signing the agreement. Upon information and belief, these
13    odd requirements were not included in the small font printed contract.
14          72.    Ms. Hardin attempted to follow the newly learned requirements for
15    cancellation but was still unsuccessful in canceling her membership. More
16    specifically, every time Ms. Hardin showed up in-person to cancel her membership,
17    there was never a manager present.
18          73.    Additionally, LA Fitness did not return any of Ms. Hardin’s phone calls
19    that she made to resolve the matter, and continually charged her for four to five
20    months after she made it clear to LA Fitness that she wanted to cancel.
21          74.    Ms. Hardin was forced to close her bank account and open up a new
22    one to stop the deductions to her bank account that LA Fitness was charging.
23          75.    Upon information and belief, Plaintiff Hardin was not provided a copy
24    of her membership contract and the other cancelation policies forced upon her were
25    not provided in the small print within the contract.
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                                     CLASS ACTION COMPLAINT
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 1          Plaintiff Fiza Javid
 2          76.    Illinois Plaintiff Fiza Javid became an LA Fitness member in or around
 3    the year 2022 at the Lawrence, Illinois location.
 4          77.    Since the inception of her membership, Ms. Javid has been paying
 5    around $40.00 per month for her membership.
 6          78.    Upon entering her membership agreement, based upon information
 7    explained to her by LA Fitness personnel, Ms. Javid was under the impression that
 8    she would be able to cancel her membership at any time without any limitations and
 9    that it would be a simple process.
10          79.    On or around November 9, 2022, Ms. Javid attempted to cancel her LA
11    Fitness membership online; however, she was unable to do so. Accordingly, Ms.
12    Javid printed out a “closing form” as indicated by LA Fitness personnel and mailed
13    it to the company.
14          80.    After canceling her gym membership pursuant to the direction of LA
15    Fitness personnel, Ms. Javid was still being charged for her membership that she
16    believed was canceled. LA fitness continued to bill her even after confirming with
17    her that her membership was canceled.
18          81.    Plaintiff Javid was still receiving bank deductions from LA Fitness after
19    canceling, so she called LA Fitness and received assurance it would cancel her
20    membership and stop the deductions.
21          82.    Despite this, the deductions were still occurring, so Plaintiff Javid
22    reprinted the “closing form” and mailed a second closing form to the company to
23    cancel her membership.
24          83.    On January 4, 2023, Ms. Javid had to change credit cards in order to
25    stop the deductions from LA Fitness.
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                                    CLASS ACTION COMPLAINT
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 1          84.    Upon information and belief, Plaintiff Javid was not provided a copy of
 2    her membership contract and the other cancelation policies forced upon her were not
 3    provided in the small print within the contract.
 4          Plaintiff JoJo Jenkins
 5          85.    Texas Plaintiff JoJo Jenkins became an LA Fitness member on or
 6    around April of 2022 at the Plantation, Florida location.
 7          86.    Since the inception of her membership, Ms. Jenkins was paying
 8    approximately $48.14 per month for her membership.
 9          87.    Upon entering her membership agreement, based upon information
10    explained to her by LA Fitness personnel, Ms. Jenkins was told that she would be
11    able to cancel her membership at any time without any limitations and that it would
12    be a simple process.
13          88.    On or around July 13, 2022, Ms. Jenkins attempted to cancel her LA
14    Fitness membership over the phone and was told by LA Fitness personnel that she
15    was required to come into the gym in order to cancel her membership during certain
16    business hours with a manager present.
17          89.    Shortly thereafter, Ms. Jenkins went to the LA Fitness gym to attempt
18    to cancel her membership in person, during the requisite business hours, yet still, she
19    still was unable to cancel her membership.
20          90.    Instead, the LA Fitness personnel told Ms. Jenkins she was required to
21    mail in a form to cancel her membership.
22          91.    For several months after, Ms. Jenkins was continuing to be charged her
23    membership fee for a gym membership she no longer wanted. Accordingly, Ms.
24    Jenkins called her bank to stop the charges with LA Fitness.
25          92.    Upon information and belief, the other cancelation policies forced upon
26    her were not provided in the small print within the membership contract.
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                                     CLASS ACTION COMPLAINT
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 1          Plaintiff Krystyna Machuta
 2          93.    Michigan Plaintiff Krystyna Machuta became an LA Fitness member
 3    in or around January 2023 at the Shelby Township, Michigan location.
 4          94.    Since the inception of her membership, Ms. Machuta had been paying
 5    around $30.00 per month for her membership.
 6          95.    Upon entering her membership agreement, based upon information
 7    explained to her by LA Fitness personnel, Ms. Machuta was under the impression
 8    that she would be able to cancel her membership with ease at any time without any
 9    limitations and that she would just need to notify the gym.
10          96.    Plaintiff Machuta recalls LA Fitness advertising “it’s easy to join and
11    easy to cancel.”
12          97.    On or around January 3, 2023, Ms. Machuta attempted to cancel her
13    LA Fitness membership by sending a letter that she wanted to cancel her
14    membership, because she was unable to make any changes to her LA Fitness profile
15    otherwise.
16          98.    After her attempt to cancel her membership, LA Fitness attempted to
17    charge her an annual enrollment fee of $49.00. LA Fitness called her multiple times
18    proceeding this letter to pay the annual enrollment fee.
19          99.    Plaintiff Machuta felt harassed by LA Fitness through multiple phone
20    calls made by their personnel after attempting to cancel. She contacted the LA
21    Fitness headquarters to get her membership canceled, since her initial attempt was
22    not successful.
23          100. On or about March 8, 2023, Plaintiff Machuta believes the membership
24    deductions finally stopped.
25          101. Upon information and belief, Plaintiff Machuta was not provided a
26    copy of her membership contract and the other cancelation policies forced upon her
27    were not provided in the small print within the contract.
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                                    CLASS ACTION COMPLAINT
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 1          Plaintiff Nicholas Mahon
 2          102. Texas Plaintiff Nicholas Mahon became an LA Fitness member on or
 3    around June 6, 2018, at the Spring, Texas location.
 4          103. Since the inception of his membership, Mr. Mahon was paying
 5    approximately $64.00 per month for his membership.
 6          104. Upon entering his membership agreement, Mr. Mahon was assured by
 7    LA Fitness personnel that he would be able to cancel his membership at any time
 8    without any limitations.
 9          105. Before July 8, 2019, Mr. Mahon attempted to cancel his LA Fitness
10    membership over the phone and in-person at the gym but was informed by LA
11    Fitness personnel that he was unable to cancel his membership over the phone or in-
12    person, but instead was required to submit a cancellation form online or through the
13    mail to cancel his membership.
14          106. Thereafter, in early July of 2019, Mr. Mahon submitted a cancellation
15    form online, which was processed by LA Fitness in August of 2019.
16          107. Upon information and belief, Mr. Mahon was not provided a copy of
17    his membership contract and the requirements to cancel that were forced upon him
18    were not in the small print of the contract.
19          Plaintiff Saira Mueller
20          108. New York Plaintiff Saira Mueller became an LA Fitness member in or
21    around the year 2019 at LA Fitness’s Culver City, California location.
22          109. Since the inception of her membership, Ms. Mueller had been paying
23    around $280.00 periodically for her personal training sessions as a part of her
24    membership.
25          110. Upon entering her membership agreement, based upon information
26    explained to her by LA Fitness personnel, Ms. Mueller understood that she would
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                                     CLASS ACTION COMPLAINT
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 1    be able to cancel her membership at any time without any limitations and that she
 2    would just need to notify the gym.
 3          111. On or around the beginning of 2020, Ms. Mueller attempted to cancel
 4    her LA Fitness membership over the phone and was told by LA Fitness personnel
 5    that her account was canceled. However, LA Fitness continued to bill her and would
 6    not return her phone calls. She attempted to email the company, but her emails were
 7    bounced back. Ultimately, Ms. Mueller contacted her bank to bar the charges from
 8    LA Fitness.
 9          112. After canceling her gym membership as required by LA Fitness, Ms.
10    Mueller was still incurring charges for her membership that she believed was
11    canceled. LA fitness continued to bill her even after it confirmed with her that her
12    membership was canceled.
13          113. Upon information and belief, the other cancelation policies forced upon
14    her were not provided in the small print within the contract.
15          Plaintiff Sharvia Sultana
16          114. New York Plaintiff Sharvia Sultana became an LA Fitness member in
17    or around the year 2021 at LA Fitness’s Queens, New York location.
18          115. Since the inception of her membership, Ms. Sultana had been paying
19    around $50.00 per month as part of her membership agreement.
20          116. Upon entering her membership agreement, based upon information
21    explained to her by LA Fitness personnel, Ms. Mueller understood that she would
22    be able to cancel her membership at any time without any limitations and that she
23    would just need to notify the gym through the website, email, or over the phone.
24          117. On or around the beginning of April of 2022, Ms. Sultana attempted to
25    cancel her LA Fitness membership through the LA Fitness website and emailed the
26    company over 10 times about cancelation. However, LA Fitness continued to bill
27    her and would not respond to her contact attempts via email.
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                                    CLASS ACTION COMPLAINT
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 1          118. Ms. Sultana called the company, and LA Fitness personnel informed
 2    her that she would need to come-in person during certain hours while a manager was
 3    present or mail in a form which she did not have the ability to do at the time.
 4          119. Ms. Sultana was unable to come-in person during the required hours
 5    while a manager was present and attempted cancellation through other avenues, as
 6    she was made to believe was possible at the time she signed up for a membership.
 7    All cancellations attempts were unsuccessful, and Ms. Sultana was continuously
 8    billed for her membership until January 10, 2023 when she was forced to cancel and
 9    replace her debit/credit card to stop the deductions.
10          120. Upon information and belief, Plaintiff Sultana was not provided a copy
11    of her membership contract and the other cancellation policies forced upon her were
12    not provided in the small print within the contract.
13
14
15             COMMON CLASS MEMBER INJURIES AND DAMAGES
16          121. To date, Defendant has failed to reimburse Plaintiffs and Class
17    Members for overcharges on their memberships, and to compensate them for their
18    injuries sustained by its unfair cancellation practices. Defendant completely
19    downplays and disavows its retention of Plaintiffs’ and Class Members’ membership
20    fees, when the facts demonstrate that its practices are common, intentional,
21    uniformly applied, and unlawful.
22          122. Plaintiffs and Class Members have been injured and damaged by
23    Defendant’s failure to honor the terms of its contract, its failure to cancel
24    memberships when requested, and its addition to its retention of unearned
25    membership fees after a Plaintiff or Class member has no longer authorized
26    automatic deductions from bank accounts and credit/debit cards.
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 1           123. Plaintiffs and Class Members faced out-of-pocket losses of money and
 2    lost time due to Defendant’s unlawful practices.
 3           124. Plaintiffs and Class Members spent and will continue to spend
 4    significant amounts of time cancelling their memberships, attempting to meet
 5    unreasonable requirements that are not in the parties’ agreements nor required by
 6    law.
 7           125. Plaintiffs and Class Members have spent many hours attempting to end
 8    their memberships and when unsuccessful, stop payments to Defendant through their
 9    financial and banking associates, as well as informing the Better Business Bureau of
10    Defendant’s unlawful practices.
11           126. Plaintiffs and Class Members suffered actual injury as a direct result of
12    the Defendant’s practices. Many victims suffered ascertainable losses in the form of
13    out-of-pocket expenses and the value of their time reasonably incurred to remedy or
14    mitigate the effects of Defendant’s misrepresentations, and fraudulent practices.
15           127. Further, as a result of Defendant’s conduct, Plaintiffs and Class
16    Members have suffered anxiety from Defendant’s continuation of charging
17    membership fees after Plaintiffs and Class Members have attempted to (or actually)
18    cancelled their memberships.
19           128. Defendant was unjustly enriched by its unlawful and fraudulent
20    cancellation policies.
21           129. As a direct and proximate result of Defendant’s actions and inactions,
22    Plaintiffs and Class Members have suffered common injuries and damages.
23                             CLASS ACTION ALLEGATIONS
24           130. Plaintiffs seek certification of a Nationwide Class for the fullest period
25    allowed by law (the “Relevant Time Period”).
26           131. Plaintiffs seek certification of the Nationwide Class defined as
27    follows:
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 1
                   All persons in the United States who purchased an LA Fitness
 2                 gym membership, then cancelled their membership and incurred
                   post-cancellation membership fees within the Relevant Time
 3                 Period.
 4
 5          132. Plaintiffs reserve the right to modify or refine the definition of the Class
 6    based upon discovery of new information and in order to accommodate any of the
 7    Court’s manageability concerns.
 8          133. Excluded from the Class are (a) Defendant, Defendant’s board
 9    members, executive-level officers, and attorneys, and immediately family members
10    of any of the foregoing persons; (b) governmental entities; (c) the Court, the Court’s
11    immediate family, and the Court staff; and (d) any person that timely and properly
12    excludes themselves from the Class in accordance with Court-approved procedures.
13          134. Numerosity (Rule 23(a)(1)). The Class Members are so numerous that
14    joinder of individual members herein is impracticable. The exact number of
15    members of the Class, as herein identified and described, are not known, but upon
16    information and belief, the Defendant sold its memberships to hundreds or thousands
17    of individuals.
18          135. Commonality (Rule 23 (a)(2) and 23(b)(3)). Common questions of
19    fact and law exist for each cause of action and predominate over questions affecting
20    only individual Class members, including the following but are not limited to:
21              a. whether Defendant sold memberships that had deceptive and
22                 predatory cancellation policies;
23              b. whether Defendant advertised, represented, or held itself out as
24                 producing memberships that were hassle free and easy to cancel;
25              c. whether Defendant misrepresented the membership policies;
26              d. whether Defendant intended for Plaintiffs, the Class members,
27                 and others to purchase the memberships;
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 1              e. whether Defendant intended or foresaw that Plaintiffs, the Class
 2                   members, and others would not be able to cancel their
 3                   membership without difficulties;
 4              f. whether Defendant has a policy or practice in deceiving Plaintiffs
 5                   and the Class members such that prevented them from effectively
 6                   cancelling their memberships;
 7              g. whether the Plaintiffs and Class members suffered direct losses
 8                   or damages;
 9              h. whether the Plaintiffs and Class members suffered indirect losses
10                   or damages;
11              i. whether the Plaintiffs and Class members are entitled to actual
12                   or other forms of damages and other monetary relief; and
13              j. whether the Class members are entitled to equitable relief,
14                   including but not limited to injunctive relief and equitable
15                   restitution.
16          136. Defendant engaged in a common course of conduct in contravention of
17    the laws Plaintiffs seek to enforce individually and on behalf of the Class members.
18    Similar or identical violations of law, business practices, and injuries are involved.
19    Individual questions, if any, pale by comparison, in both quality and quantity, to the
20    numerous common questions that dominate this action. Moreover, the common
21    questions will yield common answers that will substantially advance the resolution
22    of the case.
23          137. Typicality (Rule 23(a)(3)). Plaintiffs’ claims are typical of the claims
24    of the other members of the proposed Class. Plaintiffs and members of the Class (as
25    applicable) suffered injuries as a result of Defendant’s wrongful conduct that is
26    uniform across the Class.
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 1          138. Adequacy (Rule 23(a)(4)). Plaintiffs’ interests are aligned with the
 2    Class they seek to represent. Plaintiffs have and will continue to fairly and
 3    adequately represent and protect the interest of the Class. Plaintiffs have retained
 4    competent counsel highly experienced in complex litigation and class actions and
 5    the types of claims at issue in this litigation, with the necessary resources committed
 6    to protecting the interest of the Class. Plaintiffs have no interest that is antagonistic
 7    to those of the Class, and Defendant has no defenses unique to Plaintiffs. Plaintiffs
 8    and their counsel are committed to vigorously prosecuting this action on behalf of
 9    the members of the Class. Neither Plaintiffs nor Plaintiffs’ counsel have any interest
10    adverse to those of the other members of the Class.
11          139. Declaratory and Injunctive Relief – Federal Rule of Civil
12    Procedure 23(b)(2). Defendant has acted or refused to act on grounds generally
13    applicable to Plaintiffs and all Members of the Class, thereby making appropriate
14    final injunctive relief and declaratory relief, as described below, with respect to the
15    members of the Classes as a whole.
16          140. Superiority - Federal Rule of Civil Procedure 23(b)(3). The class
17    action mechanism is superior to other available means for the fair and efficient
18    adjudication of this controversy for reasons including but not limited to the
19    following: the damages individual Class members suffered are small compared to
20    the burden and expense of individual prosecution of the complex and extensive
21    litigation needed to address Defendant’s conduct.
22          141. Further, it would be virtually impossible for the Class members
23    individually to redress effectively the wrongs done to them. Even if Class members
24    themselves could afford such individual litigation, the court system could not.
25    Individualized litigation would unnecessarily increase the delay and expense to all
26    parties and to the court system and presents a potential for inconsistent or
27    contradictory rulings and judgments. By contrast, the class action device presents far
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 1    fewer management difficulties, allows the hearing of claims which might otherwise
 2    go unaddressed because of the relative expense of bringing individual lawsuits, and
 3    provides the benefits of single adjudication, economies of scale, and comprehensive
 4    supervision by a single court.
 5          142. The prosecution of separate actions by individual Class members would
 6    create a risk of inconsistent or varying adjudications, which would establish
 7    incompatible standards of conduct for Defendant.
 8          143. The prosecution of separate actions by individual Class members would
 9    create a risk of adjudications with respect to them that would, as a practical matter,
10    be dispositive of the interests of other Class members not parties to the adjudications
11    or that would substantively impair or impede their ability to protect their interests.
12          144. Manageability. This proposed class action presents fewer management
13    difficulties than individual litigation, and provides the benefits of single
14    adjudication, economies of scale, and comprehensive supervision by a single court.
15          145. Class certification, therefore, is appropriate under Fed. R. Civ. P.
16    23(b)(3) because the above common questions of law or fact predominate over any
17    questions affecting individual members of the Class, and a class action is superior to
18    other available methods for the fair and efficient adjudication of this controversy.
19          146. Notice. Plaintiffs and their counsel anticipate that notice to the
20    proposed Class will be effectuated through recognized, Court-approved notice
21    dissemination methods, which may include United States mail, electronic mail,
22    Internet postings, and/or published notice.
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 1                                   CAUSES OF ACTION
 2                                          COUNT I
 3         VIOLATIONS OF CALIFORNIA UNFAIR COMPETITION LAW
 4                          Cal. Bus. & Prof. Code §§ 17200, et seq.
 5                            (By All Plaintiffs on behalf of Class)
 6
 7          147. Plaintiffs, individually and on behalf of the Class, bring this claim and
 8    adopt and incorporate by reference all allegations contained in the preceding
 9    paragraphs as if fully set forth herein.
10          148. The UCL prohibits any “unlawful, unfair or fraudulent business act or
11    practice.” Cal. Bus. & Prof. Code § 17200.
12          149. The acts, omissions, misrepresentations, practices, and non-disclosures
13    of Defendants as alleged herein constitute business acts and practices.
14          150. Unlawful: The acts alleged herein are “unlawful” under the UCL in
15    that they violate at least the following laws:
16              a. The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.;
17                 and
18              b. The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et
19                 seq.
20          151. Unfair: The following acts herein are “unfair” under the UCL:
21              a. Defendants’ conduct with respect to the labeling, advertising,
22                 and sale of the Memberships was “unfair” because Defendants’
23                 conduct was immoral, unethical, unscrupulous, or substantially
24                 injurious to consumers and the utility of their conduct, if any,
25                 does not outweigh the gravity of the harm to their victims.
26              b. Defendants’ conduct with respect to the labeling, advertising,
27                 and sale of the Memberships was and is also unfair because it
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 1                  violates public policy as declared by specific constitutional,
 2                  statutory or regulatory provisions, including but not limited to
 3                  the applicable sections of the Consumers Legal Remedies Act
 4                  and the False Advertising Law.
 5               c. Defendants’ conduct with respect to the labeling, advertising,
 6                  and sale of the Products was and is unfair because the consumer
 7                  injury was substantial, not outweighed by benefits to consumers
 8                  or competition, and not one consumer themselves could
 9                  reasonably have avoided.
10
11            152. Fraudulent: A statement or practice is “fraudulent” under the UCL if it
12    is likely to mislead or deceive the public, applying an objective reasonable consumer
13    test.
14            153. As set forth herein, Defendant’s claims that its memberships were
15    hassle-free and easy to cancel by simply informing an employee of the consumer’s
16    intent to cancel was likely to mislead or deceive the public.
17            154. Defendant profited from the sale of the falsely, deceptively, and
18    unlawfully advertised and packaged Products to unwary consumers.
19            155. Plaintiffs and Class Members are likely to continue to be damaged by
20    Defendant’s deceptive trade practices, because Defendant continues to disseminate
21    misleading information. Thus, injunctive relief enjoining Defendant’s deceptive
22    practices is proper.
23            156. Defendant’s conduct caused and continues to cause substantial injury
24    to Plaintiffs and Class members. Plaintiffs and Class members have suffered injury
25    in fact as a result of Defendant’s unlawful conduct.
26            157. In accordance with Bus. & Prof. Code § 17203, Plaintiffs seek an order
27    enjoining Defendant from continuing to conduct business through unlawful, unfair,
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 1    and/or fraudulent acts and practices, and to commence a corrective advertising
 2    campaign.
 3          158. Plaintiffs and Class members also seek an order for and restitution of
 4    all monies from the sale of the Products, which were unjustly acquired through acts
 5    of unlawful competition.
 6                                          COUNT II
 7           VIOLATIONS OF CALIFORNIA FALSE ADVERTISING LAW
 8                         Cal. Bus. & Prof. Code § 17500 (“FAL”)
 9                            (By All Plaintiffs on behalf of Class)
10
11          159. Plaintiffs, individually and on behalf of the Class, bring this claim and
12    adopt and incorporate by reference all allegations contained in the preceding
13    paragraphs as if fully set forth herein.
14          160. The FAL provides that “[i]t is unlawful for any person, firm,
15    corporation or association, or any employee thereof with intent directly or indirectly
16    to dispose of real or personal property or to perform services” to disseminate any
17    statement “which is untrue or misleading, and which is known, or which by the
18    exercise of reasonable care should be known, to be untrue or misleading.” Cal. Bus.
19    & Prof. Code § 17500.
20          161. It is also unlawful under the FAL to disseminate statements concerning
21    property or services that are “untrue or misleading, and which is known, or which
22    by the exercise of reasonable care should be known, to be untrue or misleading.” Id.
23          162. As alleged herein, the advertisements, labeling, policies, acts, and
24    practices of Defendant relating to the gym memberships misled consumers acting
25    reasonably as to Defendant’s representations about the ease of cancellation to coax
26    consumers into trying out a membership, as stated above.
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 1          163. Plaintiffs suffered injury in fact as a result of Defendant’s actions as set
 2    forth herein because they purchased the memberships in reliance on Defendant’s
 3    false and misleading labeling claims concerning the memberships, as stated above.
 4          164. Defendant’s business practices as alleged herein constitute deceptive,
 5    untrue, and misleading advertising pursuant to the FAL because Defendant has
 6    advertised gym memberships in a manner that is untrue and misleading, which
 7    Defendants knew or reasonably should have known, and omitted material
 8    information from their advertising.
 9          165. Defendant profited from the sale of the falsely and deceptively
10    advertised Memberships to unwary consumers.
11          166. As a result, Plaintiffs, Class members, and the general public are
12    entitled to injunctive and equitable relief, restitution, and an order for the
13    disgorgement of the funds by which Defendants were unjustly enriched.
14          167. Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiffs, on behalf of
15    members of the Class, seek an order enjoining Defendant from continuing to engage
16    in deceptive business practices, false advertising, and any other act prohibited by
17    law, including those set forth in this Complaint
18                                          COUNT III
19                                BREACH OF CONTRACT
20                            (By All Plaintiffs on behalf of Class)
21
22          168. Plaintiffs, individually and on behalf of the Class, bring this claim and
23    adopt and incorporate by reference all allegations contained in the preceding
24    paragraphs as if fully set forth herein.
25          169. Defendant has engaged in a widespread policy, practice, and procedure
26    of breaching its contracts with Plaintiffs and Class members by not permitting them
27    to cancel their memberships pursuant to the membership contracts.
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 1          170. Plaintiffs and the Class members entered into contracts with Defendant
 2    which allowed Plaintiffs and the Class members to cancel their memberships at any
 3    time but were then prohibited from canceling their memberships as set forth in the
 4    contracts. See Saira Mueller Contract, attached hereto as Exhibit 1. See also Chris
 5    Golden Contract, attached hereto as Exhibit 2.
 6          171. Upon information and belief, hundreds, if not thousands, of other
 7    membership holders across the country are being prohibited from canceling their
 8    memberships as set forth in the contracts.
 9          172. Defendant’s prohibition of Plaintiffs and Class members from
10    canceling their memberships except with new conditions which were not
11    incorporated into the 4-corners of the contract is in effect a modification of the
12    contract that is not agreed upon by the parties, and therefore is in violation of their
13    actual contracts.
14          173. When Defendant ignored requests for cancellation as provided in its
15    contracts, it continued to bill monies to Plaintiffs and Class members as if the
16    memberships were never cancelled.
17          174. Defendant required Plaintiffs and Class members to: 1) come to a gym
18    location in person, 2) during certain hours, and 3) while a manager was present in
19    order to attempt cancellation. These three requirements were not included in the
20    contracts signed by members.
21          175. These requirements were widespread and difficult for Plaintiffs and
22    Class members to complete as all three requirements had to be met. Thus,
23    purposefully making it difficult for membership agreements to end due to needing
24    manager approval, in person.
25          176. Additionally, Plaintiffs and Class members did not agree to be charged
26    bi-annual or annual fees within the 4-corners of the written contracts.
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 1          177. Defendant ignored the terms of its contracts and continued to bill
 2    monies to Plaintiffs and Class members for these hidden fees, which were never
 3    agreed upon by Plaintiffs or Class members.
 4
 5                                PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiffs and those similarly situated request that this
 7    Honorable Court:
 8             A. Issue an Order certifying a Class of LA Fitness as defined herein
 9                pursuant to Rule 23;
10             B. Designate Plaintiffs as representatives on behalf of all similarly
11                situated persons (Class members) who were LA Fitness members
12                who: 1) were unable to cancel their memberships after they
13                followed instructions provided by LA Fitness personnel; 2) were
14                still charged monthly membership fees after they mailed in a
15                cancellation form pursuant to the contract; and/or 3) were
16                charged annual or bi-annual membership fees;
17             C. Issue an Order appointing the undersigned counsel as class
18                counsel pursuant to Rule 23(g);
19             D. Award Plaintiffs and Class Members all membership fees that
20                were incorrectly withdrawn by LA Fitness after Plaintiffs
21                attempted to cancel by mailing in a cancellation form, as set forth
22                herein;
23             E. Award Plaintiffs and Class Members all membership fees that
24                were incorrectly withdrawn by LA Fitness after Plaintiffs
25                attempted to cancel pursuant to instructions provided by LA
26                Fitness personnel;
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 1             F. Provide lost time and other out-of-pocket expense compensation
 2                for all Plaintiffs and Class Members who were required to
 3                perform tasks outside of their contracts in their effort to cancel a
 4                membership;
 5             G. Award Plaintiffs and Class Members a refund of all annual or bi-
 6                annual fees that were incorrectly withdrawn by LA Fitness;
 7             H. Award Plaintiffs and all those similarly situated, further legal,
 8                statutory, equitable, and injunctive relief as this Court deems
 9                appropriate;
10             I. Award Plaintiffs and all those similarly situated pre and post
11                judgment interest at the statutory rate as provided under
12                California law;
13             J. Award Plaintiffs and all those similarly situated, attorneys’ fees,
14                costs and disbursements pursuant to California law;
15             K. Award service payments to Plaintiffs;
16             L. Award pre and post judgment payment and interest; and
17             M. Other relief as justice so demands.
18
19                          TRIAL BY JURY IS DEMANDED
20
21
22    DATED: November 9, 2023                Respectfully submitted,
23
24                                           By: /s/ Jill J. Parker
25
                                             Jill J. Parker (Cal. State Bar No. 274230)
26
                                             jill@parkerminne.com
27                                           PARKER & MINNE, LLP
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